Case 2:21-cv-07391-SB-MAR Document 19 Filed 10/21/21 Page 1 of 5 Page ID #:64



                                                     October 21, 2021
 1
                                                         VPC
 2
                                                          JS-6
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11   BOSTON MEDICAL CENTER                 Case No. 2:21-cv-07391-SB-MAR
     CORPORATION, a Massachusetts
12   charitable corporation,               Assigned To: Hon. Stanley Blumenfeld, Jr.
13                                         Courtroom 6C
                  Plaintiff,
14                                         STIPULATED FINAL JUDGMENT
15        v.                               AND PERMANENT INJUNCTION AS
                                           TO DEFENDANT BOSTON
16   BOSTON MEDICAL CENTER, INC., a        MEDICAL CENTER, INC.
17   California corporation,
                                           Complaint Filed: September 15, 2021
18                  Defendant.             Trial Date: None Set
19
20
21
22
23
24
25
26
27




               STIPULATED FINAL JUDGMENT AND PERMANENT INJUNCTION
Case 2:21-cv-07391-SB-MAR Document 19 Filed 10/21/21 Page 2 of 5 Page ID #:65




 1         In accordance with the Parties’ Joint Motion for Entry of Final Judgment and
 2   Permanent Injunction as to Defendant Boston Medical Center, Inc.,
 3         IT IS ORDERED, ADJUDGED, AND DECREED, AS FOLLOWS:
 4         1.    The Court has subject matter jurisdiction over this action pursuant to 28
 5   U.S.C. §§ 1331 and 1338(a) and (b), and 15 U.S.C. § 1121, as this is an action arising
 6   under 15 U.S.C. §§ 1051, et seq. (the “Lanham Act”).
 7         2.    This Court has subject matter jurisdiction over Plaintiff’s state law claims
 8   pursuant to 28 U.S.C. §§ 1338(b) and 1367, as those claims are substantially related
 9   to the Lanham Act claims and form part of the same case or controversy.
10         3.    The Court has personal jurisdiction over each of the parties to this action.
11   Plaintiff BOSTON MEDICAL CENTER CORPORATION (“Plaintiff” or “BMC”),
12   is, and at all relevant times was, a Massachusetts not-for-profit corporation, duly
13   authorized and licensed to conduct business in Massachusetts pursuant to Chapter 180
14   of the Massachusetts General Laws. Plaintiff’s principal place of business is Boston,
15   Suffolk County, Massachusetts. Defendant is a California corporation with a principal
16   place of business in California.
17         4.    On September 15, 2021, Plaintiff filed this lawsuit against Defendant for
18   (i) Federal Trademark Infringement under 15 U.S.C. §§ 1114 and 1125(a), (ii)
19   Trademark Dilution under 15 U.S.C. § 1125(c), (iii) Unfair Competition and False
20   Advertising under 15 U.S.C. § 1125(a), (iv) Unfair Competition and False
21   Advertising under Cal. Bus. & Prof. Code § 17200 et seq., (v) False Advertising under
22   Cal. Bus. & Prof. Code § 17500 et seq., (vi) Common Law Trademark Infringement,
23   and (vii) Common Law Unfair Competition.
24         5.    Plaintiff has continually, and without interruption, used the trade name
25   BOSTON MEDICAL CENTER in interstate commerce since 1996, when Boston
26   Medical Center was created from a merger of Boston City Hospital and University
27   Hospital.

                                        -1-
                  STIPULATED JUDGMENT AND PERMANENT INJUNCTION
Case 2:21-cv-07391-SB-MAR Document 19 Filed 10/21/21 Page 3 of 5 Page ID #:66




 1         6.    On or about September 23, 2003, the United States Patent & Trademark
 2   Office (“USPTO”) issued to Plaintiff U.S. Trademark Registration No. 2,766,788 for
 3   the typed drawing BOSTON MEDICAL CENTER in Class 44 for medical, health
 4   care and hospital services.
 5         7.    On or about October 7, 2003, the USPTO issued to Plaintiff U.S.
 6   Trademark Registration Number 2,771,617 for the illustration drawing BOSTON
 7   MEDICAL CENTER, in Class 44 for medical, health care and hospital services:
 8
 9
10
11
12         8.    The registrations of the typed drawing BOSTON MEDICAL CENTER

13   and the illustration drawing BOSTON MEDICAL CENTER (together, the

14   “Marks”) are in full force and effect on the USPTO’s Principal Register, and give rise

15   to presumptions in favor of Plaintiff with respect to validity, ownership, and exclusive

16   rights to use the Marks throughout the United States.

17         9.    Plaintiff is the senior user and exclusive owner of the Marks in Class 44

18   for medical, health care and hospital services.

19         10. Defendant holds itself out to the public as a provider of primary care

20   medical services, specializing in family medicine, located at 960 East Green Street,

21   Suite 101, Pasadena, California.

22         11. According to records maintained by the California Secretary of State,

23   Defendant filed Articles of Incorporation with the California Secretary of State on

24   July 25, 2019 identifying its name as, “Boston Medical Center, Inc.”

25         12. According to records maintained by the California Secretary of State,

26   Defendant filed a Statement of Information with the California Secretary of State on

27   or about September 14, 2020.
           13. According to the National Provider Identifier (“NPI”) registry, on or
                                        -2-
                  STIPULATED JUDGMENT AND PERMANENT INJUNCTION
Case 2:21-cv-07391-SB-MAR Document 19 Filed 10/21/21 Page 4 of 5 Page ID #:67




 1   about September 28, 2020, Defendant obtained a unique ten-digit identifier,
 2   1134736705, for use in administrative and financial transactions adopted under the
 3   Health Insurance Portability and Accountability Act (HIPAA).
 4         14. Plaintiff has not consented to, sponsored, endorsed, or approved of
 5   Defendant’s use of the Marks or any variations thereof in connection with the
 6   manufacture, marketing, or sale of any products or services.
 7         NOW, THEREFORE, IT IS FURTHER ORDERED, ADJUDGED, AND
 8   DECREED, AS FOLLOWS:
 9         A.    In light of the facts set forth above, and further acknowledging that
10   Defendant admits liability solely for purposes of resolving this case via a stipulated
11   judgment, final judgment is entered in favor of Plaintiff and against Defendant on
12   BMC’s claims for: (i) Federal Trademark Infringement under 15 U.S.C. §§ 1114 and
13   1125(a), (ii) Trademark Dilution under 15 U.S.C. § 1125(c), (iii) Unfair Competition
14   and False Advertising under 15 U.S.C. § 1125(a), (iv) Unfair Competition and False
15   Advertising under Cal. Bus. & Prof. Code § 17200 et seq., (v) False Advertising under
16   Cal. Bus. & Prof. Code § 17500 et seq., (vi) Common Law Trademark Infringement,
17   and (vii) Common Law Unfair Competition.
18         B.    Upon the entry of this Judgment, Defendant and its officers, agents,
19   servants, employees, attorneys, and those persons acting in concert or participation
20   with Defendant who have received actual notice of this Judgment shall be
21   permanently enjoined from use of the “Boston Medical Center” name for business
22   purposes.
23         C.    Defendant, by November 26, 2021, shall:
24               i.     Cease using “Boston Medical Center”, in any form, as the name of
25                      its business, whether as a formal name or as a d/b/a;
26               ii.    Change the name of “Boston Medical Center, Inc.”;
27               iii.   Discontinue the use of, and transfer to Plaintiff, the internet

                                        -3-
                  STIPULATED JUDGMENT AND PERMANENT INJUNCTION
Case 2:21-cv-07391-SB-MAR Document 19 Filed 10/21/21 Page 5 of 5 Page ID #:68




 1                        domain, bostonmedicalcenterinc.com, and Defendant and its
 2                        officers, agents, servants, employees, attorneys, and those persons
 3                        acting in concert or participation with Defendant shall cease and
 4                        desist from using any email addresses associated with that domain;
 5                 iv.    Disassociate the name “Boston Medical Center, Inc.” from
 6                        Defendant and its officers, agents, servants, employees, attorneys,
 7                        and those persons acting in concert or participation with Defendant,
 8                        including, but not limited to the authorized official of NPI No.
 9                        1134736705; and
10                 v.     Cancel all advertising under the “Boston Medical Center” name,
11                        including, but not limited to any keyword advertising or sponsored
12                        advertisements with any Internet search engines.
13         D.      The parties shall be subject to the jurisdiction of this Court in connection
14   with any dispute relating to enforcing the terms of this Final Judgment and Permanent
15   Injunction.
16         E.      The following individuals, without exclusion, shall receive actual notice
17   of and be bound by this Final Judgment and Permanent Injunction:
18                 i.     Gladwin Gill;
19                 ii.    Joseph Vivian Davis;
20                 iii.   Ahmed Mahdi; and
21                 iv.    Natasha Gill.
22        IT IS SO ORDERED.
23
     Dated: October 21, 2021
24
25
                                                       Stanley Blumenfeld, Jr.
26
                                                      United States District Judge
27

                                          -4-
                    STIPULATED JUDGMENT AND PERMANENT INJUNCTION
